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The following constitutes the ruling of the court and has the force and effect therein described.



Signed June 26, 2018
                                            United States Bankruptcy Judge
  ______________________________________________________________________


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

     IN RE:                                        §
                                                   §    Chapter 11
     RINCON ISLAND LIMITED                         §
     PARTNERSHIP,                                  §    Case No. 16-33174-hdh-7
                                                   §
              Debtor.                              §


     HUNTON ANDREWS KURTH LLP,                     §
                                                   §
              Plaintiff,                           §
                                                   §    Adversary No. 18-03053-hdh
     v.                                            §
                                                   §
     HVI CAT CANYON, INC., AND                     §
     RILP-H, LLC.                                  §
                                                   §
              Defendants.                          §

                            ORDER ABATING ADVERSARY PROCEEDING
                                     [Relates to Docket No. 7]

              Upon the Agreed Motion to Abate Adversary Proceeding (the “Motion”) [Docket No. 7]

     filed by Plaintiff Hunton Andrews Kurth LLP and Defendants HVI Cat Canyon, Inc. and RILP-

     H, LLC, and the Court having jurisdiction over the Motion pursuant to 28 U.S.C. § 1334 and this



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being a core proceeding under 28 U.S.C. § 157(b)(2); and good and adequate notice of the

Motion having been given and after due deliberation and sufficient cause appearing therefore, it

is hereby:

        ORDERED that the Motion is GRANTED; and it is further

        ORDERED that the above-styled adversary proceeding is abated until further order of

this Court; and it is further

        ORDERED that the Parties will file a notice of hearing setting a status conference for

October 2019.

                                  ### END OF ORDER ###




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